     Case 3:20-cv-03618-B Document 51 Filed 03/21/22                 Page 1 of 3 PageID 262



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MICHAEL SMITH, WAYNE BOYD, and                    §
DEDRICK WILEY, on Behalf of Themselves            §
and all Others Similarly Situated,                §
                                                  §
        Plaintiffs,                               §
                                                  §
v.                                                §   CIVIL ACTION NO. 3:20-cv-3618-B
                                                  §
P & B INTERMODAL SERVICES, LLC,                   §
                                                  §
        Defendant.                                §

      PLAINTIFFS’ AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiffs Michael Smith, Wayne Boyd, and Dedrick Wiley, on behalf of themselves and

the nine (9) Opt-in Plaintiffs in the above captioned lawsuit (collectively “Plaintiffs”) hereby agree

and stipulate that this action is hereby dismissed with prejudice in its entirety pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii).

        1.      Defendant P&B Intermodal Services, LLC (“Defendant”) consents to this

Stipulation of Dismissal with Prejudice pursuant to Rule 41(a)(1)(A)(ii) as shown by the signature

of its counsel below.

        2.      There are no pending motions before the Court as of the filing of this document.

        3.      By the signatures of their counsel of record below, Plaintiffs and Defendant

(collectively the “Parties”) hereby dismiss all claims and/or counter-claims in the above-captioned

lawsuit with prejudice with the respective Parties bearing their own court costs and

attorney’s/attorneys’ fees except as otherwise agreed by the Parties.

        4.      This stipulation is effective upon filing of this document and no Court order is

required pursuant to Federal Rule of Civil Procedure 41(a)(1)(A).

Date: March 21, 2022.
   Case 3:20-cv-03618-B Document 51 Filed 03/21/22                Page 2 of 3 PageID 263



 Respectfully Submitted,                           Respectfully Submitted,

 s/ Allen R. Vaught                                s/ Carolyn A. Pellegrini
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                                                   ATTORNEYS FOR DEFENDANT

                            CERTIFICATE OF CONFERENCE

      Counsel for Plaintiffs and Defendant conferred on the subject matter of this document on
March 21, 2022, and counsel for Defendant indicated that Defendant agrees with the filing of this
document.



                                                     s/Allen R. Vaught
                                                     Allen R. Vaught




                                               2
   Case 3:20-cv-03618-B Document 51 Filed 03/21/22              Page 3 of 3 PageID 264



                               CERTIFICATE OF SERVICE

         On March 21, 2022, I electronically submitted the foregoing document with the Clerk of
Court for the United States District Court, Northern District of Texas, using the CM/ECF method.
I certify that I have served all counsel of record electronically.



                                                    s/Allen R. Vaught
                                                    Allen R. Vaught




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